         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     BRYSON CITY DIVISION

                    CRIMINAL CASE NO. 2:09cr29-3


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                      ORDER
                          )
                          )
JONATHAN THAD LACKEY.     )
                          )



     THIS MATTER is before the Court on the Defendant’s Motion to

Extend Plea Deadline [Doc. 76].

     For the reasons stated in the motion, it will be granted.

     IT IS, THEREFORE, ORDERED that the Defendant’s Motion to

Extend Plea Deadline [Doc. 76] is hereby GRANTED and the Defendant

may file a plea agreement on or before Friday, January 15, 2010.

                                      Signed: January 5, 2010




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